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VLIILE'I.'} B‘Y'___,_______ p.c_‘
05 Jun 30 Pn s= m

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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amc us adamson
MARK CHRISTOPHER onERT and W)D OF tel mm

LESLEY OBERT,
Plaintiffs,

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)

)
v. ) No. 03-2135-Dv
)

THE PYRAMID, cITY 0F MEMPHIS, )
SHELBY COUNTY GOVERNMENT, )
PUBLIC BUILDING AUTHORITY oF )
MEMPHIS AND SHELBY CoUNTY, )
MEMPHIS PoLICE DEPARTMENT, )
LEISURE MANAGEMENT )
INTERNATIONAL d/b/a/ LMI/HHI, )
LTD., and sPECTACOR )
MANAGEMENT GROUP d/b/a sMG, )
)

)

Defendants.

 

ORDER DENYING DEFENDANT SMG’S MOTION TO RECONSIDER

 

Before the Court is Defendant Spectacor Management Group’s (“SMG” or “Defendant”)
motion (dkt. # 96) to reconsider the Court’s January 26, 2005 Order granting Plaintiffs’ motion for
leave to file an amended complaint (“January 26, 2005 Order”). Defendant asserts that the Court
should reconsider its ruling and deny Plaintiffs leave to file their amended complaint. For the
following reasons, the Court DENIES Defendant’s motion.

A motion to alter or amend judgment pursuant to Fed. R. Civ. P. 59(e) may be made for one
of three reasons:

l) An intervening change of controlling law;

2) Evidence not previously available has become available; or

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with Hule 53 and/or 79(a) FRCP on ‘ '

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3) It is necessary to correct a clear error of law or prevent manifest injustice
F€d- R- Civ- P- 59(€); HMAMSOMHMAMM, 964 F-S\lPP-
1175 (E.D. Tenn. 1997). Rule 59 is not intended to be used to “relitigate issues previously
considered” or to “submit evidence which in the exercise of reasonable diligence, could have been
submitted before.” Ld. at 1182. Thus, there are limited circumstances in which a court may grant
a motion to alter or amend a judgment

Defendant asserts that the Court should amend its January 26, 2005 Order. Defendant
contends that the Court erred when it granted Plaintiffs leave to amend their complaint However,
in Foman v. Davis, the United States Supreme Court stated that “Rule 15(a) [of the Federal Rules
of Civil Procedure] declares that leave to amend ‘shall be freely given when justice so requires’; this
mandate is to be heeded.” Foman v. Davis, 371 U.S. 178, 182 (1962) (QLM'lg Fed. R. Civ. P.
15(a)). The grant or denial of an opportunity to amend is within the discretion of the District Court.
Ld.

Defendant argues that Plaintit`fs were well beyond the deadline for pleadings set out in the
scheduling order. In Hamad v. Woodcrest Condominium Ass’n., the Sixth Circuit held that the
district court had abused its discretion in denying the plaintiffs motion to amend the complaint, in
spite of the district court’s findings that discovery had closed, the deadline for dispositive motions
had passed, and there was only a month before trial. Hamad v. Woodcrest Condominium Ass’n.,
328 F.3d 224, 238 (6th Cir. 2003).

In the instant case, although the scheduling order must be amended as a result of the amended

complaint the Court holds that justice requires permitting the Plaintiffs to file their amended

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complaint

Accordingly, Defendant’s motion to reconsider the Court’s J anuary 26, 2005 Order granting
Plaintiffs’ motion to amend their complaint is DENIED. However, Defendant’s alternative motion
for a status conference and a new scheduling order to allow time for additional discovery, additional

substantive motions, and identification of expert witnesses is GRANTED.

IT rs so 0RDERED this 33 day ofJune, 2005.

 

U ITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 158 in
case 2:03-CV-02135 Was distributed by faX, mail, or direct printing on
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US DISTRICT COURT

